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                                                        August 22, 2019

         Via ECF
         The Honorable Karen M. Williams
         U.S. District Court, District of New Jersey
         Mitchell H. Cohen Building & U.S. Courthouse
         4th& Cooper Streets
         Camden, NJ 08101

                           Re:        The HomeSource Corp. v. Retailer Web Services, LLC
                                      D.N.J., Docket No. 1:18-cv-11970-JBS-KMW
                                      Our File No. R0939-1001

         Dear Judge Williams:

                We represent Defendant, Retailer Web Services, LLC (“RWS”), in connection
         with the above-referenced matter. Plaintiff HomeSource Corp. filed a Motion for
         Sanctions against RWS under Federal Rule 37 on August 19, 2019. (ECF Doc. 106).
         Under Local Rule 37.1, Plaintiff was required to request leave of court prior to filing any
         discovery motions, which Plaintiff did not do prior to filing this Motion.

                In order to clarify whether Plaintiff complied with the local rules, whether RWS
         should respond to this Motion, and other outstanding issues, RWS requests that this Court
         schedule a phone status conference.

                                                   Respectfully,

                                                    /s/ Matthew A. Lipman

                                           MATTHEW A. LIPMAN
         MAL/mar
         cc:  Alexis Arena, Esquire (via ECF)
              Eric R. Clendening, Esquire (via ECF)
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